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                              IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE SOUTHERN DISTRICT OF GEORGIA
                                         SAVANNAH DIVISION

      In re:                                             :        Chapter 7

      PAUL CHARLES LEMKE and                             :        Case No. 18-40343-EJC
      TWIGGY YELKO LEMKE,
            Debtors                                      :

      MORRIS BANK,                                       :
           Movant
                                                         :
      v.
                                                         :
      PAUL CHARLES LEMKE and
      TWIGGY YELKO LEMKE,                                :
            Respondents

                    MOTION FOR RELIEF FROM AUTOMATIC STAY AND WAIVER
                     OF 30-DAY HEARING REQUIREMENT OF 11 U.S.C. §362(e)

               COMES NOW, Movant, MORRIS BANK and files this its Motion for Relief from the Stay of

      these proceedings and respectfully shows the Court the following:
                                                  1.

               This motion is made under Section 362(d) of the Bankruptcy Code for relief from the

      automatic stay for the purpose of foreclosing by a private power of sale contained in a certain

      Security Deed.

                                                    2.

               Movant is second lien holder of Security Deeds, which describe certain real property in

      which Debtor(s) claim an interest. Said real property is security for a promissory note held by

      Movant, and the properties are commonly known as 5 Grand Lake Circle, Savannah, Georgia

      31405; 8843 Charter Point, San Antonio, Texas 78250; 1219 Carmel Oaks, San Antonio, Texas

      78253; and 1223 Creek Ranch, San Antonio, Texas 78253 (hereinafter referred to as "the

      property".) In addition, Movant has a perfected security interest in all assets of the Debtor(s) as

      set forth in the UCC-1 by PolyCase Ammunition, LLC, attached hereto as Exhibit “A”, together

      with all proceeds and products of the same.
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                                                      3.

             Movant asserts the debtors have abandoned their interest in the three (3) rental properties

      located in San Antonio, Texas.

                                                      4.

             Movant asserts the debtors have defaulted in making the required payments to Morris

      Bank. Movant asserts because of the debtors’ failure to make the payments when due, Morris

      Bank, is not adequately protected in its security interest.

                                                      5.

             Movant asserts its collateral is depreciating through use and over time.

                                                      6

             Movant's total claim is approximately $475,482.49. This is not an exact figure and may not

      be relied upon for payoff purposes.

                                                      7.

             To the best of Movant's knowledge, information and belief, its lien is second priority.

      Movant has no knowledge, information or belief as to any other secured claims against the

      property.

                                                      8.

             Movant seeks relief from the automatic stay pursuant to 11 U.S.C. §362(d)(1) because the

      Debtor(s) have defaulted in making payments to the Note and Security Deed.

                                                      9.

             Movant is entitled to reasonable attorney's fees and costs for prosecuting this Motion.

                                                     10.

             By signature of its counsel, Movant hereby waives the requirement under 11 U.S.C.

      §362(e) that a hearing on this Motion be held within 30 days of the date it was filed.

             WHEREFORE, Movant respectfully requests the Court grant relief as follows:
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             (a) That an Order be entered granting relief from the automatic stay of 11 U.S.C. Section

      362 authorizing Movant to proceed with the exercise of its private power of sale and to foreclose

      under its Security Deed and appropriate state statutes;

             (b) Movant be awarded reasonable attorney's fees; and

             (b) Grant such other and further relief as is just and equitable.



                                            /s/ Daniel L. Wilder
                                            DANIEL L. WILDER, Bar No. 141448
                                            Attorney for Movant


      EMMETT L. GOODMAN, JR., LLC
      544 Mulberry Street, Ste. 800
      Macon, GA 31201
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                                           CERTIFICATE OF SERVICE

             I, Daniel L. Wilder, do certify that on the date shown below, I have served a copy of the

      within MOTION FOR RELIEF FROM STAY AND WAIVER OF 30-DAY REQUIREMENT OF 11

      U.S.C.§362(e) on the following parties at the addresses shown, by depositing a copy of the same

      to each in the United States Mail in a properly addressed envelope with adequate postage thereon

      to:


      Mr. Paul Charles Lemke
      Ms. Twiggy Yelko Lemke
      5 Grand Lake Circle
      Savannah, GA 31405

      Mr. C. James McCallar, Jr.
      Attorney at Law
      P. O. Box 9026
      Savannah, GA 31412

      Ms. Wendy Anne Owens
      Chapter 7 Trustee
      P. O. Box 8846
      Savannah, GA 31412

           I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND
      CORRECT.

             This 5th day of June, 2018.


                                             /s/ Daniel L. Wilder
                                             DANIEL L. WILDER, Bar No. 141448
                                             Attorney for Movant


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